









Petition for Writ of Mandamus Denied and Opinion filed May 29, 2003









Petition for Writ of Mandamus Denied and Opinion filed
May 29, 2003.

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&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

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&nbsp;

NO. 14-03-00594-CV

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&nbsp;

IN RE JOHN WORLDPEACE, Relator

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&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

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&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On May 22, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.&nbsp; 

We deny relator=s petition for writ of mandamus.

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&nbsp;

PER CURIAM

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&nbsp;

Petition Denied
and Opinion filed May 29, 2003.

Panel consists of
Chief Justice Brister, Justice Fowler, and Justice Edelman.

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